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 1   BENJAMIN B. WAGNER
     United States Attorney
 2   IAN L. GARRIQUES
     Assistant U.S. Attorney
 3   2500 Tulare Street, Suite 4401
     Fresno, California 93721
 4   Telephone: (559) 497-4000
     Facsimile: (559) 497-4099
 5
     Attorneys for the
 6   United States of America
 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 1:12-CR-00130-AWI-DLB
                                           )
12                    Plaintiff,           )    STIPULATION AND DISCOVERY
                                           )    PROTECTIVE ORDER BETWEEN
13              v.                         )    DEFENDANTS AND THE
                                           )    UNITED STATES
14   LUIS MIRABETE-PENA                    )
        aka Junior,                        )
15   BENJAMIN APARACIO-PABLO,              )
     OTHONIEL PARRA-GALLARDO,              )
16   FELIX SANTIAGO-MATIAS                 )
        aka Freddy,                        )
17   MARCO ANTONIO ARIAS-SOLIS,            )
18   JENNY THANH NGUYEN,                   )
     UBALDO CASTILLO-HERNANDEZ,            )
19   DALIA REYES-SERAPIO, and              )
     ERETZANDERT MORALES-LOZANO,           )
20                                         )
                      Defendants.          )
21
22        WHEREAS, the discovery in this case is voluminous and contains a
23   large amount of personal information including, but not limited to
24   social security numbers, alien registration numbers, dates of birth,
25   telephone numbers, residential addresses, photographs, as well as
26   other forms of personal identification (“Protected Information”); and
27
          WHEREAS, the parties desire to avoid both the necessity of large
28
     scale redactions and the unauthorized disclosure or dissemination of
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 1   this information to anyone not a party to the court proceedings in
 2   this matter;
 3        The parties agree that entry of a stipulated protective order is
 4   appropriate.
 5
          THEREFORE, plaintiff United States of America, by and through
 6
     its counsel of record, and defendants LUIS MIRABETE-PENA, BENJAMIN
 7
     APARACIO-PABLO, OTHONIEL PARRA-GALLARDO, FELIX SANTIAGO-MATIAS, MARCO
 8
     ANTONIO ARIAS-SOLIS, JENNY THANH NGUYEN, UBALDO CASTILLO-HERNANDEZ,
 9
     DALIA REYES-SERAPIO, and ERETZANDERT MORALES-LOZANO (the
10
     “defendants”), by and through their respective counsel of record,
11
     Dale Blickenstaff, Salvatore Sciandra, David Torres, Jon K. Renge,
12
     Richard A. Beshwate, Robert D. Wilkinson, Mark W. Coleman, Daniel A.
13
14   Bacon, and Anthony P. Capozzi (collectively referred to as “Defense

15   Counsel”), hereby agree and stipulate as follows:

16        1.    This Court may enter protective orders pursuant to Rule

17   16(d) of the Federal Rules of Criminal Procedure, and its general
18   supervisory authority.
19        2.    This Order pertains to all discovery provided to or made
20   available to Defense Counsel by the United States in this case
21   (hereafter, collectively known as “the discovery”).
22
          3.    By signing this Stipulation and Protective Order, Defense
23
     Counsel agree not to share any documents that contain Protected
24
     Information with anyone other than Defense Counsel, designated
25
     defense investigators, retained expert witnesses, and other support
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     staff.    Defense Counsel may permit their respective defendants to
27
     view unredacted documents in the presence of their respective
28
     attorneys, defense investigators and support staff.          Defense counsel

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 1   personally, or through their investigators and support staff, may
 2   show unredacted documents to witnesses in regard to documents or
 3   events about which a witness may have personal knowledge.             The
 4   parties agree that Defense Counsel, defense investigators and support
 5
     staff shall not allow the defendants to copy Protected Information
 6
     contained in the discovery.        The parties agree that Defense Counsel
 7
     and their respective defense investigators and support staff may
 8
     provide the respective defendants and witnesses with copies of
 9
     documents from which Protected Information has been redacted.
10
            4.   The discovery and information therein may be used only in
11
     connection with the litigation of this case and for no other purpose.
12
     The discovery is now and will forever remain the property of the
13
14   United States Government.       At the conclusion of the case, Defense

15   Counsel will return the discovery to the Government or will certify

16   that it has been shredded.

17          5.   Defense Counsel will store the discovery in a secure place
18   and will use reasonable care to ensure that it is not disclosed to
19   third persons in violation of this agreement.
20          6.   Defense Counsel shall be responsible for advising their
21   respective defendants, employees, witnesses, and other members of
22
     their respective defense teams of the contents of this
23
     Stipulation/Order.
24
            7.   In the event that any defendant herein substitutes counsel,
25
     the respective undersigned Defense Counsel agrees to withhold
26
     discovery from new counsel unless and until substituted counsel
27
     ///
28
     ///

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 1   agrees also to be bound by this Order.
 2
 3   IT IS SO STIPULATED.
 4
 5
     Dated: May 11, 2012                       BENJAMIN B. WAGNER
 6                                             United States Attorney

 7                                      By: /s/ Ian L. Garriques
                                            IAN L. GARRIQUES
 8                                          Assistant U.S. Attorney
 9
     Dated: May 11, 2012                       /s/ Dale Blickenstaff
10                                             DALE BLICKENSTAFF
                                               Attorney for Defendant
11                                             LUIS MIRABETE-PENA
12
     Dated: May 11, 2012                       /s/ Salvatore Sciandra
13                                             SALVATORE SCIANDRA
14                                             Attorney for Defendant
                                               BENJAMIN APARACIO-PABLO
15
16   Dated: May 11, 2012                       /s/ David Torres
                                               DAVID TORRES
17                                             Attorney for Defendant
                                               OTHONIEL PARRA-GALLARDO
18
19   Dated: May 11, 2012                       /s/ Jon K. Renge
                                               JON K. RENGE
20                                             Attorney for Defendant
                                               FELIX SANTIAGO-MATIAS
21
22
     Dated: May 11, 2012                       /s/ Richard A. Beshwate
23                                             RICHARD A. BESHWATE
                                               Attorney for Defendant
24                                             MARCO ANTONIO ARIAS-SOLIS

25
     Dated: May 11, 2012                       /s/ Robert D. Wilkinson
26                                             ROBERT D. WILKINSON
                                               Attorney for Defendant
27                                             JENNY THANH NGUYEN
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 1   Dated: May 11, 2012                        /s/ Mark W. Coleman
                                                MARK W. COLEMAN
 2                                              Attorney for Defendant
                                                UBALDO CASTILLO-HERNANDEZ
 3
 4   Dated: May 11, 2012                        /s/ Daniel A. Bacon
 5                                              DANIEL A. BACON
                                                Attorney for Defendant
 6                                              DALIA REYES-SERAPIO

 7
     Dated: May 11, 2012                        /s/ Anthony P. Capozzi
 8                                              ANTHONY P. CAPOZZI
                                                Attorney for Defendant
 9                                              ERETZANDERT MORALES-LOZANO
10
11            IT IS SO FOUND AND ORDERED.
12             IT IS SO ORDERED.
13              Dated:   May 14, 2012             /s/ Dennis L. Beck
14   3b142a                                 UNITED STATES MAGISTRATE JUDGE

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